   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 1 of 10



                DISTRICT COURT OF THE VIRGIN ISLANDS
                DIVISION OF ST. THOMAS AND ST. JOHN

                                             )
DARREL RIVIERE,                              )
                                             )
                 Plaintiff,                  )
                                             )
                 v.                          )
                                             )     Civil No. 2012–50
DIRECTOR OF HIDTA VIRGIN ISLANDS             )
DIVISION,                                    )
                                             )
                 Defendant.                  )
                                             )
                                             )

ATTORNEYS:

Darrel Riviere
Federal Correctional Institution McDowell
Welch, WV
     Pro se.

Gretchen Shappert, United States Attorney
Sansara Cannon, AUSA
United States Attorney’s Office
St. Thomas, VI
     For the United States.


                           MEMORANDUM OPINION
GÓMEZ, J.

      Before the Court is the motion of the United States to

dismiss the complaint.

                  I.   FACTUAL AND PROCEDURAL HISTORY

   On March 6, 2012, Darrell Riviere (“Riviere”) filed a request

for certain documents with the “Director of the Virgin Islands

High Intensity Drug Task Force,” pursuant to the Freedom of

Information Act, 5 U.S.C. § 552 (“FOIA”).         As of July 11, 2012,
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 2 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 2

Riviere had received no response. On that date, he filed a

complaint in this Court seeking production of the requested

documents. The only defendant named in the complaint is the

“Director of HIDTA Virgin Islands Division.”

     On June 1, 2017, the United States filed a motion to

dismiss this matter for lack of subject-matter jurisdiction and

for failure to state a claim.

                             II.    DISCUSSION

A. Federal Rule of Civil Procedure 12(b)(1)

     A party may bring either a facial or a factual challenge to

the Court's subject-matter jurisdiction pursuant to Rule

12(b)(1). Gould Electronics, Inc. v. United States, 220 F.3d

169, 178 (3d Cir.2000). In considering a facial challenge

under Rule 12(b)(1), all material allegations in the Complaint

are taken as true. See Taliaferro v. Darby Twp. Zoning Bd., 458

F.3d 181, 188 (3d Cir.2006) (summarizing the standard for facial

attacks under Rule 12(b)(1) as “whether the allegations on the

face of the complaint, taken as true, allege facts sufficient to

invoke the jurisdiction of the district court”); Mortensen, 549

F.2d at 891 (explaining that, in ruling upon a facial attack

under Rule 12(b)(1), “the court must consider the allegations of

the complaint as true”). Indeed, the “standard is the same when

considering a facial attack under Rule 12(b)(1) or a motion to
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 3 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 3

dismiss for failure to state a claim under Rule

12(b)(6).” Petruska v. Gannon Univ., 462 F.3d 294, 299 (3d

Cir.2006).

     “[A] factual challenge[ ] attacks the factual allegations

underlying the complaint's assertion of jurisdiction, either

through the filing of an answer or ‘otherwise presenting

competing facts.’” Davis v. Wells Fargo, 824 F.3d 333, 346 (3d

Cir. 2016) (original alterations omitted) (quoting Constitution

Party of Pa. v. Aichele, 757 F.3d 347, 358 (3d Cir. 2014)); see

also Berardi v. Swanson Mem'l Lodge No. 48 of the Fraternal

Order of Police, 920 F.2d 198, 200 (3d Cir. 1990) (holding that

the factual basis for jurisdictional allegations in a complaint

could be disputed before an answer was served). Where a motion

to dismiss factually challenges the district court's

jurisdiction, the court is not confined to the allegations in

the complaint, but can consider other evidence, such as

affidavits, depositions, and testimony, to resolve factual

issues related to jurisdiction. See Mortensen v. First Fed. Sav.

and Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977) (stating that

because at issue is the very power of the trial court to hear

the case, a court is free to weigh evidence beyond the

allegations in the complaint). Furthermore, “no presumptive

truthfulness attaches to plaintiff's allegations” and “the
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 4 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 4

plaintiff will have the burden of proof that jurisdiction does

in fact exist.” Id.

B. Federal Rule of Civil Procedure 12(b)(6)

     “[W]hen ruling on a defendant's motion to dismiss [for

failure to state a claim], a judge must accept as true all of

the factual allegations contained in the complaint.” Erickson v.

Pardus, 551 U.S. 89, 127 S.Ct. 2197, 2200, 167 L.Ed.2d 1081

(2007) (per curiam) (citing Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 127 S.Ct. 1955, 1965, 167 L.Ed.2d 929 (2007)). All

reasonable inferences are drawn in favor of the non-moving

party. Alston v. Parker, 363 F.3d 229, 233 (3d Cir.2004). A

court must ask whether the complaint “contain[s] either direct

or inferential allegations respecting all the material elements

necessary to sustain recovery under some viable legal

theory.” Bell Atlantic Corp., 127 S.Ct. at 1969 (emphasis in

original) (quoting Car Carriers, Inc. v. Ford Motor Co., 745

F.2d 1101, 1106 (7th Cir.1984)).

     “While a complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need detailed factual allegations, a

plaintiff’s obligation to provide the grounds of his entitlement

to relief requires more than labels and conclusions, and a

formulaic recitation of a cause of action’s elements will not

do.” Id. at 1964–65 (internal citations omitted). Thus, “[t]o
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 5 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 5

survive a motion to dismiss, a . . . plaintiff must allege facts

that ‘raise a right to relief above the speculative level on the

assumption that the allegations in the complaint are true (even

if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227,

234 (3d Cir.2007) (quoting Bell Atlantic Corp., 127 S.Ct. at

1965).

                             III.    ANALYSIS

     The United States argues that this case must be dismissed

because a High Intensity Drug Trafficking Area (“HIDTA”) is not

an agency for FOIA purposes.

     FOIA provides that “[e]ach agency” shall make certain

information available to the public. 5 U.S.C. § 552(a). The

district courts are authorized “to enjoin          . . . [an] agency

from withholding agency records and to order the production of

any agency records improperly withheld from the complainant.” 5

U.S.C. § 552 (a)(4)(B).

     The term “agency” is defined as follows:

         “agency” means each authority of the Government
         of the United States, whether or not it is
         within or subject to review by another agency,
         but does not include--

              (A)       the Congress;

              (B)       the courts of the United States;
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 6 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 6

              (C)     the     governments  of                the
                 territories or possessions of               the
                 United States;

              (D) the government       of   the   District   of
              Columbia;

              or except as to the requirements               of
              section 552 of this title--

              (D)      agencies       composed        of
                 representatives of the parties or of
                 representatives of organizations of the
                 parties to the disputes determined by
                 them;

              (E)     courts      martial     and      military
                 commissions;

              (F)     military authority exercised in
                 the field in time of war or in occupied
                 territory; or
              (G)   functions conferred by sections 1738,
                    1739, 1743, and 1744 of title 12;
                    subchapter II of chapter 471 of title
                    49; or sections 1884, 1891-1902, and
                    former section 1641(b)(2), of title 50,
                    appendix;

5 U.S.C.A. § 551(1). In addition, the term “agency” specifically

includes:

         any executive department, military department,
         Government corporation, Government controlled
         corporation, or other establishment in the
         executive branch of the Government (including the
         Executive Office of the President), or any
         independent   regulatory   agency   .   .   .   .

5 U.S.C. § 552(f)(1).
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 7 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 7

     To determine whether a HIDTA is an agency, the Court will

consider the structure of the HIDTA program. Pursuant to the

HIDTA program, the Director of National Drug Control policy (the

“Director”) “may designate any specified area of the United

States as a high intensity drug trafficking area.” 21 U.S.C. §

1706(b)(1). Once a HIDTA is designated, the Director may:

      (A) obligate such sums as are appropriated for the
         [High Intensity Drug Trafficking Areas] Program;

      (B) direct the temporary reassignment of Federal
         personnel to such area, subject to the approval
         of the head of the department or agency that
         employs such personnel

      (C) take any other action authorized under section
         1703 of this title to provide increased Federal
         assistance to those areas; and

      (D) coordinate activities under this section
         (specifically administrative, recordkeeping, and
         funds management activities) with State, local,
         and tribal officials.

21 U.S.C. § 1706(b)(2).

     A HIDTA is only eligible to receive funds under the High

Intensity Drug Trafficking Areas Program if it is governed by an

Executive Board, which is responsible for:

      (E) providing direction and oversight in
         establishing and achieving the goals of the high
         intensity drug trafficking area;

      (F) managing the funds of the high intensity drug
         trafficking area;
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 8 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 8

      (G) reviewing and approving all funding proposals
         consistent with the overall objective of the
         high intensity drug trafficking area; and

      (H) reviewing and approving all reports to the
         Director on the activities of the high intensity
         drug trafficking area.

21 U.S.C. § 1706(e)(1)-(2). Furthermore, funds appropriated

under the High Intensity Drug Trafficking program generally may

not be expended if “[t]he Executive Board for such area, region,

or partnership, does not apportion an equal number of votes

between representatives of participating Federal agencies and

representatives of participating State, local, and tribal

agencies.” 21 U.S.C. § 1706(e). Thus, a HIDTA is a joint

federal-local partnership governed by an executive board

composed of representative from both federal and local agencies.

     Congress also specifically provided that:

         The eligibility requirements of this section are
         intended to ensure the responsible use of Federal
         funds. Nothing in this section is intended to
         create an agency relationship between individual
         high intensity drug trafficking areas and the
         Federal Government.

21 U.S.C. § 1706(f) (the “HIDTA agency exclusion provision”).

     The existence of the HIDTA agency exclusion provision is

significant to the inquiry here. Indeed, Congress has, in other

statutes, specifically provided that certain entities created by

the federal government are not “agenc[ies] or establishment[s]
   Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 9 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 9

of the United States Government.” 47 U.S.C. § 396(b)

(Corporation for Public Broadcasting); see also 16 U.S.C. § 3701

(National Fish and Wildlife Foundation); 49 U.S.C. § 24301(a)(3)

(AMTRAK). Those express statements exclude entities--which could

otherwise constitute agencies--from the provisions of FOIA. See

Lebron v. Nat'l R.R. Passenger Corp., 513 U.S. 374, 392, 115 S.

Ct. 961, 971, 130 L. Ed. 2d 902 (1995) (“[A statutory provision

indicating that Amtrak is not an agency or establishment of the

United States] . . . is assuredly dispositive of Amtrak's status

as a Government entity for purposes of matters that are within

Congress's control--for example, whether it is subject to

statutes that impose obligations or confer powers upon

Government entities, such as the Administrative Procedure Act, 5

U.S.C. § 551 et seq. . . .”).

     The Court is persuaded that the HIDTA agency exclusion

provision is just such a provision that excludes a HIDTA from

the definition of agency, and the reach of FOIA. Under these

circumstances, to the extent Congress wished for a HIDTA to be

subject to FOIA, Congress could have said so. See, e.g., 22

U.S.C. § 5841(h)(1) (“Notwithstanding the fact that the

Democracy Corps is not an agency or establishment of the United

States Government, the Democracy Corps shall be required to

comply fully with all of the provisions of section 552 of Title
  Case: 3:12-cv-00050-CVG-RM Document #: 45 Filed: 03/29/18 Page 10 of 10
Riviere v. Director of HIDTA Virgin Islands Division
Civil No. 2012-50
Memorandum Opinion
Page 10

5.”). Congress did not. On balance the Court is persuaded that

HIDTA is not an agency within the reach of FOIA.

     As a HIDTA is not an agency from which Riviere may obtain

relief, Riviere has failed to state a claim upon which relief

may be granted, and his complaint must be dismissed. Cf., e.g.,

Pub. Citizen Health Research Grp. v. Dep't of Health, Ed. &

Welfare, 668 F.2d 537, 544 (D.C. Cir. 1981) (reversing the

judgment of the district court and directing the district court

to dismiss the complaint on the basis that the National Capital

Medical Foundation, Inc. was not an agency within the reach of

FOIA)

     An appropriate Judgement follows.



                                                       S\
                                                            CURTIS V. GÓMEZ
                                                            District Judge
